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                  NORTHERN DISTRICT OF IOWA



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                          Case 5:04-cr-04118-MWB-LTS                               Document 78   Filed 07/13/05   Page 1 of 8
Case 5:04-cr-04118-MWB-LTS   Document 78   Filed 07/13/05   Page 2 of 8
Case 5:04-cr-04118-MWB-LTS   Document 78   Filed 07/13/05   Page 3 of 8
Case 5:04-cr-04118-MWB-LTS   Document 78   Filed 07/13/05   Page 4 of 8
Case 5:04-cr-04118-MWB-LTS   Document 78   Filed 07/13/05   Page 5 of 8
Case 5:04-cr-04118-MWB-LTS   Document 78   Filed 07/13/05   Page 6 of 8
Case 5:04-cr-04118-MWB-LTS   Document 78   Filed 07/13/05   Page 7 of 8
Case 5:04-cr-04118-MWB-LTS   Document 78   Filed 07/13/05   Page 8 of 8
